

	
	
	
	Supreme Court of Georgia






		
		
		
		
		

									
							
		





























		
	

	


				
		
				
		
			
				
					

	
							
			HomeFAQContact UsTwitter			
			


 
	
		
			
				
						

							
			
			
			
			
					
		

			
					
	
					
							
		
		
			
		
	
	
		
			Court InformationCourtClerk’s OfficeDirectionsHolidaysHistoryToursMediaPurchase Certificates, Opinions and DVD’sArchived Oral ArgumentsEmployment OpportunitiesNews and ReportsBiographiesChief Justice P. Harris HinesPresiding Justice Harold D. MeltonJustice Robert BenhamJustice Carol W. HunsteinJustice David E. NahmiasJustice Keith R. BlackwellJustice Michael P. BoggsJustice Nels S.D. PetersonJustice Britt C. GrantCertificates &amp; ReportsLaw School Graduate CertificateReciprocity/Court of Last Resort CertificatesLegal Education Committee ReportQuick LinksAttorney AdmissionsDomestic Relations CasesLegal WebsitesPauper’s AffidavitOral Argument Calendar2017 Summaries of Cases2016 Summaries of CasesDocketGranted and Denied Petitions2017 Granted2017 Denied2016 Granted2016 Denied2015 Granted2015 DeniedGranted Applications2017 Interlocutory2016 Rule 34 (4) Discretionary2016 Interlocutory2015 Rule 34 (4) Discretionary2015 InterlocutoryOpinionsForthcoming Opinions2017 Opinions2016 Opinions2015 OpinionsRulese-file


																
	
 
				
				
			
					
		
					
						
							
		
		
						
			

			
			
			
			Home		
	
			
			
				Sam Harry			
		
	
			
			2017-09-12T16:30:55+00:00		
	
						
				
					
						


	
	
	
		
		
		

		
		 

		
		Live Oral Arguments
 

		
		View live oral arguments from October 16, 2017. 
	
	
	
		
		
		

		
		 

		
		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
		Justices' Biographies 

		
		Read about the Justices of the Supreme Court of Georgia. 
	
	
	
		
		
		

		
		 

		
		Oral Arguments
 

		
		View oral arguments from the current Court term. 
	
	
	
		
		
		

		
		 

		
		Opinions 

		
		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
		Court History
 

		
		Learn about the history of the Supreme Court of Georgia. 
	


	

		
		
				

					
				
					
						
Oral Argument Calendar


					
				
					
						
Docket Search


					
				
					
						
e-file


					
				
					
						
Media


					
				
							
												
	
					
				  
			  
			
			
			
			
										
				

																
						
							
								
									
																																							
												Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
Directions
																																				
																																								
												Quick LinksForthcoming Opinions
Docket Search
Archived Oral Arguments
Media
Purchase
Rule 3.15 Form
																																				
																																								
												ORAL ARGUMENT CALENDARView Calendar
Current Month october, 2017
			
				
				
				
				
				montuewedthufrisatsun
			
			------12345678910111213141516171819202122232425262728293031
				
			Oral Arguments
									
										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
				16oct10:00 am4:00 pmOral Arguments
							Event DetailsMonday, October 16, 2017
10:00 AM
S17G0541 Lucas v. Beckman Coulter, Inc. et al.
S17Q1559 Cahill v. United States
S17G0732 Southern Pain Specialist, P.C. v. Brown
S17G0733 Doherty v. Brown
S17G0737 Southeastern Pain Ambulatory Surgery
							
							
									Event Details
									Monday, October 16, 2017
10:00 AM
S17G0541 Lucas v. Beckman Coulter, Inc. et al.
S17Q1559 Cahill v. United States
S17G0732 Southern Pain Specialist, P.C. v. Brown
S17G0733 Doherty v. Brown
S17G0737 Southeastern Pain Ambulatory Surgery Center, LLC v. Brown
2:00 PM
S17G0641 Barnett et al v. Caldwell
S17A1646 Kemp v. The State
S17A1599 Franklin v. The State

								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
												
							
							
								CalendarGoogleCal	
													
									
			
			
	
			
						

																																							
																																								
																News and Reports		
					
				10/12/17 – JUSTICE HONORED FOR WORK ON CRIMINAL JUSTICE REFORM
						
					
				10/11/17 – JUDGE SCHRADER TO HEAR GEORGIA SUPREME COURT CASE
						
					
				10/11/17 – CHIEF JUDGE COLLIER TO HEAR GEORGIA SUPREME COURT CASE
						
				
				View All News and Reports
																																				
																																																									
									
								 
							 
						 
					
																
						
							
								

									
		
		© 2016 Supreme Court of Georgia All Rights Reserved | Privacy | E-Verify ID	


								 
							 
						 
														 
					 

								

						
						
							
								
																			
							
								
									X
									
								
														
						
					
					




































































































































			
